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                      UNITED STATES DISTRICT COURT
                      NORTHERN DISTRICT OF FLORIDA
                           PENSACOLA DIVISION

UNITED STATES OF AMERICA

v.                                            Case Nos.:    3:94cr3136/RV/CJK
                                                            3:14cv242/RV/CJK
BENNIE CLEVELAND WILLIAMS
_______________________________/

                      REPORT AND RECOMMENDATION
      This matter is before the court upon Defendant’s motion to vacate, set aside,
or correct sentence pursuant to 28 U.S.C. § 2255 (doc. 501). Rule 4(b) of the Rules
Governing Section 2255 Proceedings for the United States District Courts provides
in part that “[i]f it plainly appears from the motion, any attached exhibits, and the
record of prior proceedings that the moving party is not entitled to relief, the judge
must dismiss the motion and direct the clerk to notify the moving party.” After a
review of the record, it is the opinion of the undersigned that the court is without
jurisdiction to entertain Defendant’s motion and that it should be summarily
dismissed.
                        BACKGROUND and ANALYSIS
      Defendant is currently serving a term of 360 months imprisonment after his
conviction for conspiracy to possess with intent to distribute cocaine and cocaine base
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(docs. 124, 365).1 The Eleventh Circuit affirmed his conviction and sentence on
appeal (doc. 174). Defendant then challenged his conviction by means of a motion
to vacate pursuant to 28 U.S.C. § 2255 (doc. 199). The district court denied this
motion in February of 2000 (see docs. 221, 222).2 Defendant filed several other
motions for post-conviction relief (see docs 308, 310, 319, 329, 360, 361, 443),
including an unsuccessful motion to re-open his original §2255 motion (doc. 462,
469, 470). Defendant has now filed another motion to vacate in which he claims that
his original trial and appellate attorneys were constitutionally ineffective (doc. 501).
The filing reveals no explanation for Defendant’s attempt to obtain relief for errors
that occurred nearly twenty years ago, and the only attachment to his motion, an
unredacted copy of the indictment dated September 26, 1994, sheds no light on the
issue (doc. 501 at 7–8).
         In any event, this court does not have jurisdiction to entertain Defendant’s
motion. Before a second or successive application for § 2255 relief is filed in the
district court, the litigant must move in the appropriate court of appeals for an order
authorizing the district court to consider the application. 28 U.S.C. § 2244(b)(3) and
§ 2255(h); Felker v. Turpin, 518 U.S. 651 (1996); United States v. Holt, 417 F.3d
1172, 1175 (11th Cir. 2005); United States v. Oliveros-Estupinan, 544 F. App’x 930
(11th Cir. 2014). Defendant has not obtained authorization from the Eleventh Circuit
Court of Appeals to file a successive motion, and therefore, the instant motion to
vacate must be dismissed without prejudice.


         1
         Defendant’s motion to reduce sentence pursuant to 18 U.S.C. § 3582 was granted, and his
sentence was reduced from life imprisonment to a term of 360 months (doc. 365).
         2
          The record does not indicate the disposition of Defendant’s appeal, although the court’s
docket reflects that no further appeals were pending as of June 28, 2002.
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                              CERTIFICATE OF APPEALABILITY
         Rule 11(a) of the Rules Governing Section 2255 Proceedings for the United
States District Court (“§ 2255 Rules”) provides that “[t]he district court must issue
or deny a certificate of appealability when it enters a final order adverse to the
applicant,” and if a certificate is issued “the court must state the specific issue or
issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” A timely notice
of appeal must still be filed, even if the court issues a certificate of appealability.
Rule 11(b), § 2255 Rules.
         After review of the record, the court finds no substantial showing of the denial
of a constitutional right. § 2253(c)(2); Slack v. McDaniel, 529 U.S. 473, 483–84
(2000) (explaining how to satisfy this showing) (citation omitted). Therefore, it is
also recommended that the court deny a certificate of appealability in its final order.
         The second sentence of Rule 11(a) provides: “Before entering the final order,
the court may direct the parties to submit arguments on whether a certificate should
issue.” If there is an objection to this recommendation by either party, that party may
bring this argument to the attention of the district judge in the objections permitted
to this report and recommendation.
         Accordingly, it is respectfully RECOMMENDED:
         1.        Defendant’s motion to vacate pursuant to 28 U.S.C. § 2255 (doc. 501),
be SUMMARILY DISMISSED, as this court lacks jurisdiction to consider a
successive motion absent authorization from the Eleventh Circuit.




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         2.        A certificate of appealability be DENIED.
         At Pensacola, Florida, this 28th day of May, 2014.



                                                   /s/   Charles J. Kahn, Jr.
                                                   CHARLES J. KAHN, JR.
                                                   UNITED STATES MAGISTRATE JUDGE



                                      NOTICE TO THE PARTIES

       Any objections to these proposed findings and recommendations must be
filed within fourteen (14) days after being served a copy thereof. Any different
deadline that may appear on the electronic docket is for the court’s internal use
only. A copy of objections shall be served upon all other parties. Failure to
object may limit the scope of appellate review of factual findings. See 28 U.S.C.
§ 636; United States v. Roberts, 858 F.2d 698, 701 (11th Cir. 1988).




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